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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


   JENNIFER CAMPBELL, on behalf of
   herself and all others similarly situated,
                                                                 Court File No.: _________________
                             Plaintiff,

   v.                                                         CLASS ACTION COMPLAINT
                                                                       AND
   DIGITAL FEDERAL CREDIT UNION,                                   JURY DEMAND

                             Defendant.                           (Equitable Relief Sought)



                                     CLASS ACTION COMPLAINT
            Plaintiff Jennifer Campbell, individually and on behalf of the classes of persons

preliminarily defined below, makes the following allegations.

                                          NATURE OF THE ACTION

             1.     Plaintiff brings this action on behalf of herself and classes of all similarly situated

 consumers against Defendant Digital Federal Credit Union (“DFCU”), arising from its routine

 practice of charging two or three non-sufficient funds fees (“NSF Fee”) on a single transaction.

             2.     Two documents permit DFCU to impose OD Fees and NSF Fees and address the

 policies at issue in this Complaint. See Truth in Savings Disclosure and Account Agreement

 (“Deposit Agreement”) attached as Exhibit A and Schedule of Fees and Service Charges (“Fee

 Schedule”) attached as Exhibit B (collectively “Account Documents”).

             3.     Ms. Campbell does not dispute DFCU’s right to either (a) reject a transaction and

 charge a single NSF Fee or (b) pay a transaction and charge a single overdraft fee (“OD Fee”),

 but DFCU unlawfully maximizes its already profitable account fees with deceptive practices

 that also violate its contract.




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       4.     Specifically, DFCU unlawfully assesses multiple NSF Fees on a single

Automated Clearing House (“ACH”) transaction or check.

       5.     In DFCU’s sole and undisclosed view, each time the Credit Union processes an

ACH transaction or check for payment after a having been rejected for insufficient funds, it

becomes a new, unique item or transaction that is subject to another NSF Fee. But DFCU’s

Account Documents never even hints that this counterintuitive result could be possible.

Moreover, the premise is far from obvious as a matter of common sense and becomes even less

so when one considers that DFCU’s own statements refer to the re-attempted items as “RETRY

PYMT”—i.e., mere iterations of the same initial item, not items ex nihilo.

       6.     DFCU’s Account Documents indicate that only a single NSF Fee will be charged

for “checks, ACH, and DCU Debit Card withdrawals” however many times the request for

payment is reprocessed. An electronic item reprocessed after an initial return for insufficient

funds cannot and does not fairly become a new, unique item for NSF fee assessment purposes.

       7.     DFCU breaches its contract when it charges more than one $30 NSF Fee on the

same item, since the contract states—and reasonable consumers understand—that the same item

can only incur a single NSF Fee.

       8.     DFCU also breaches its duty of good faith and fair dealing when it charges

multiple NSF Fees on a single transaction. Specifically, DFCU abuses its contractual discretion

by (a) processing transactions when it knows full well that a customer’s account lacks sufficient

funds and (b) charging NSF Fees upon each reprocessing of the same item.

       9.     This practice not only violates DFCU’s contracts and the covenant of good faith

and fair dealing but is also unfair and deceptive under the consumer protection law of North

Carolina (where Ms. Campbell is a citizen and resides).




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          10.   Ms. Campbell and other DFCU customers have been injured by these practices.

On behalf of herself and the Classes, Ms. Campbell seeks damages, restitution and injunctive

relief for DFCU’s breach of contract and breach of the covenant of good faith and fair dealing,

and violation of the applicable consumer protection statute.

          11.   DFCU’s improper scheme to extract funds from accountholders already

struggling to make ends meet has victimized Plaintiff and thousands of other accountholders.

Unless enjoined, DFCU will continue to engage in these schemes and cause substantial injury to

accountholders.

                                                PARTIES

          12.   Plaintiff Campbell is a citizen and resident of North Carolina.

          13.   Defendant Digital Federal Credit Union is one of Massachusetts’s largest credit

unions.     It has over $8 billion in assets and maintains its headquarters in Marlborough,

Massachusetts. It has branches located in Massachusetts and New Hampshire and has customers

throughout the United States.

          14.   This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332(d)(2), because the matter in controversy exceeds $5,000,000, exclusive of interest

and costs, and is a class action in which at least one member of the class (Ms. Campbell) is a

citizen of a State different from the Defendant. The number of members of the proposed Classes

in aggregate exceeds 100 accountholders. 28 U.S.C. § 1332(d)(5)(B).

          15.   This Court has personal jurisdiction over the Defendant because Defendant’s

actions and omissions committed in or aimed at this District gave rise to the claims alleged in this

Complaint. Also, Defendant regularly conducts and/or solicits business in, engages in other

persistent courses of conduct in, and/or derives substantial revenue from products and/or services




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provided to persons in this District and in Massachusetts.

        16.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in this District.

                                            BACKGROUND FACTS

   I.         DFCU CHARGES TWO OR MORE NSF FEES ON THE SAME ITEM

        17.     As alleged more fully herein, DFCU’s Account Documents allow it to take certain

steps when a Credit Union accountholder attempts a transaction, but does not have sufficient funds

to cover it. Specifically, DFCU may (a) authorize the transaction and charge a single $30 OD Fee;

or (b) reject the transaction and charge a single $30 NSF Fee.

        18.     In contrast to its Account Documents, however, DFCU regularly assesses two or

more NSF Fees on the same item or transaction.

        19.     This abusive practice is not universal in the financial services industry. Indeed,

major banks like Chase—the largest consumer bank in the country—do not undertake the practice

of charging more than one NSF Fee on the same item when it is reprocessed. Instead, Chase

charges one NSF Fee even if a transaction is reprocessed for payment multiple times.

        20.     DFCU’s Account Documents never disclose this practice. To the contrary, DFCU’s

Account Documents indicate it will only charge a single NSF Fee on an item or per transaction.

   A. Plaintiff’s Experience

        21.     On January 22, 2018, Plaintiff attempted to make a one-time American Express

payment, via an ACH transaction.

        22.     DFCU rejected payment of that item due to insufficient funds and charged Plaintiff

a $30 NSF Fee.

        23.     Unbeknownst to Ms. Campbell and without her request to DFCU to retry the




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transaction, one day later, on January 23, 2018, DFCU processed the same item again, and again

rejected the transaction and again charged her a $30 NSF Fee.

       24.    Again, unbeknownst to Ms. Campbell and without her request to DFCU to retry the

transaction, one day later, on January 24, 2018, DFCU processed the same item again, and again

rejected the transaction and again charged her a $30 NSF Fee.

       25.    In sum, DFCU charged Plaintiff $90 in fees to process a single payment to

American Express.

       26.    Plaintiff understood his transaction to be a single transaction as is laid out in

DFCU’s Account Documents, capable at most of receiving a single NSF Fee (if DFCU returned

it) or OD Fee (if DFCU paid it).

       27.    DFCU itself also understood the American Express transaction to be single

transaction, and its systems categorized it as such. Indeed, on Ms. Campbell’s account statement,

DFCU described subsequent attempts to debit the transaction as a “RETRY PYMT.”

   B. The Imposition of Multiple NSF Fees on a Single Transaction Violates DFCU’s
      Express Promises and Representations

       28.    The Deposit Agreement provides the general terms of Ms. Campbell’s relationship

with DFCU and makes explicit promises and representations regarding how transactions will be

processed, as well as when NSF Fees and OD Fees may be assessed.

       29.    The Deposit Agreement contains explicit terms indicating that NSF Fees will only

be assessed once per transaction or item—defined as a customer request for payment or transfer—

when in fact DFCU regularly charges two or more NSF Fees per transaction or item even though

a customer only requested the payment or transfer once.

       30.    DFCU’s Account Documents indicate that a singular NSF Fee can be assessed on

checks, ACH debits, and electronic payments.



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       31.     DFCU’s Account Documents state that it will charge $30 per item or transaction

that is returned due to insufficient funds.

       32.     According to the Fee Schedule, at most a single fee will be assessed when a “check,

ACH and DCU Debit Card withdrawal” is returned for nonsufficient funds.

       Returned - Nonsufficient Funds* $30.00

       *Includes checks, ACH, and DCU Debit Card withdrawals. Aggregate two (2) fees per day
       per account. Individual items that 1) are $10 or less, or 2) draw the account balance negative
       by $10.00 or less are not subject to such fees.

       33.     The same “check, ACH and DCU Debit Card withdrawal” on an account cannot

conceivably become a new one each time it is rejected for payment then reprocessed, especially

when—as here—Plaintiff took no action to resubmit them.

       34.     While the Deposit Agreement contemplates that DFCU may make a “second

attempt” to clear any item returned for insufficient funds, it expressly states DFCU will only charge

“a fee” for a second attempt when such an item is “paid” in which case an OD Fee will be

charged—not, as happened to Plaintiff, where the item is rejected over and over again.

       1. You may at your discretion, but are not obligated to nor shall you be liable for
       refusal to, pay funds from this account: a. When such payment would draw the
       available balance in the account below zero.…You may also make a second attempt
       to clear any item originally identified as having insufficient funds. I understand you
       are not in any way obligated to do so, that all attempts to pay any item must still be
       completed within the settlement timeframes imposed by regulation, and that I will
       be charged a fee for items paid during a second attempt to clear in lieu of a
       returned item fee.

Deposit Agreement at 19 (emphasis added).

       35.     There is zero indication anywhere in the Account Documents that the same “check,

ACH and DCU Debit Card withdrawal” is eligible to incur multiple NSF Fees.

       36.     Even if DFCU reprocesses an instruction for payment, it is still the same “check,

ACH and DCU Debit Card withdrawal.” DFCU’s reprocessing is simply another attempt to



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effectuate an accountholder’s original order or instruction.

       37.     The disclosures described above never discuss a circumstance where DFCU may

assess multiple NSF Fees for a single check or ACH transaction that was returned for insufficient

funds and later reprocessed one or more times and returned again.

       38.     In sum, DFCU promises that one $30 NSF Fee will be assessed per electronic

payment or check, and these terms must mean all iterations of the same instruction for payment.

As such, DFCU breached the contract when it charged more than one fee per item.

       39.     Taken together, the representations and omissions identified above convey to

customers that all submissions for payment of the same transaction will be treated as the same

“item,” which DFCU will either authorize (resulting in an overdraft item) or reject (resulting in a

returned item) when it decides there are insufficient funds in the account. Nowhere does DFCU

disclose that it will treat each reprocessing of a check or ACH payment as a separate item, subject

to additional fees, nor do DFCU customers ever agree to such fees.

       40.     Customers reasonably understand, based on the language of the Account

Documents, that DFCU’s reprocessing of checks or ACH payments are simply additional attempts

to complete the original order or instruction for payment, and as such, will not trigger NSF Fees.

In other words, it is always the same item or transaction.

       41.     Banks and credit unions like DFCU that employ this abusive practice know how to

plainly and clearly disclose it. Indeed, other banks and credit unions that do engage in this abusive

practice disclose it expressly to their accountholders—something DFCU here never did.

       42.     For example, First Citizens Bank, a major institution in the Carolinas, engages in

the same abusive practice as DFCU, but at least expressly states:

       Because we may charge a service fee for an NSF item each time it is presented, we may
       charge you more than one service fee for any given item. All fees are charged during



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        evening posting. When we charge a fee for NSF items, the charge reduces the available
        balance in your account and may put your account into (or further into) overdraft.

(emphasis added).

        43.     First Hawaiian Bank engages in the same abusive practices as Defendant, but at

least currently discloses it in its online banking agreement, in all capital letters, as follows:

        YOU AGREE THAT MULTIPLE ATTEMPTS MAY BE MADE TO SUBMIT A
        RETURNED ITEM FOR PAYMENT AND THAT MULTIPLE FEES MAY BE
        CHARGED TO YOU AS A RESULT OF A RETURNED ITEM AND
        RESUBMISSION.

(emphasis added).
        44.     Klein Bank similarly states in its online banking agreement:

        [W]e will charge you an NSF/Overdraft Fee each time: (1) a Bill Payment (electronic or
        check) is submitted to us for payment from your Bill Payment Account when, at the time
        of posting, your Bill Payment Account is overdrawn, would be overdrawn if we paid the
        item (whether or not we in fact pay it) or does not have sufficient available funds; or (2)
        we return, reverse, or decline to pay an item for any other reason authorized by the terms
        and conditions governing your Bill Payment Account. We will charge an NSF/Overdraft
        Fee as provided in this section regardless of the number of times an item is submitted or
        resubmitted to us for payment, and regardless of whether we pay the item or return,
        reverse, or decline to pay the bill payment.
        45.     DFCU provides no such disclosure, and in so doing, deceives its accountholders.

    C. The Imposition of Multiple NSF Fees on a Single Transaction Breaches DFCU’s
       Duty of Good Faith and Fair Dealing

        46.     Parties to a contract are required not only to adhere to the express conditions in the

contract, but also to act in good faith when they are invested with a discretionary power over the

other party. In such circumstances, the party with discretion is required to exercise that power and

discretion in good faith. This creates an implied promise to act in accordance with the parties’

reasonable expectations and means that DFCU is prohibited from exercising its discretion to enrich

itself and gouge its customers. Indeed, DFCU has a duty to honor transaction requests in a way

that is fair to Plaintiff and its other customers and is prohibited from exercising its discretion to




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pile on ever greater penalties on the depositor. Here—in the adhesion agreements DFCU foisted

on Plaintiff and its other customers—DFCU has provided itself numerous discretionary powers

affecting customers’ credit union accounts. But instead of exercising that discretion in good faith

and consistent with consumers’ reasonable expectations, DFCU abuses that discretion to take

money out of consumers’ account without their permission and contrary to their reasonable

expectations that they will not be charged multiple fees for the same transaction.

       47.     DFCU exercises its discretion in its own favor—and to the prejudice of Plaintiff

and its other customers—when it reprocesses a transaction when it knows a customer’s account

lacks funds and then charges additional NSF Fees on a single item. Further, DFCU abuses the

power it has over customers and their credit union accounts and acts contrary to her reasonable

expectations under the Account Documents. This is a breach of DFCU’s implied covenant to

engage in fair dealing and act in good faith.

       48.     Further, DFCU maintains complete discretion not to assess NSF Fees on

transactions at all. By exercising its discretion in its own favor—and to the prejudice of Plaintiff

and other customers—by charging more than one NSF Fee on a single item, DFCU breaches the

reasonable expectation of Plaintiff and other customers and in doing so violates the implied

covenant to act in good faith.

       49.     It was bad faith and totally outside Plaintiff’s reasonable expectations for DFCU to

use its discretion to assess two or three NSF Fees for a single attempted payment.

       50.     When DFCU charges multiple NSF Fees, DFCU uses its discretion to define the

meaning of “check, ACH and DCU Debit Card withdrawal” in an unreasonable way that violates

common sense and reasonable consumer expectations. DFCU uses its contractual discretion to set

the meaning of those terms to choose a meaning that directly causes more NSF Fees.




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                                            CLASS ALLEGATIONS

       51.     Ms. Campbell brings this action on behalf of herself and all others similarly situated

pursuant to Rule 23 of the Federal Rules of Civil Procedure. This action satisfies the numerosity,

commonality, typicality, adequacy, predominance and superiority requirements of Rule 23.

       52.     The proposed “Classes” are defined as:

       Class – Nationwide Multiple NSF Class
       All DFCU checking account holders in the United States who, during the applicable
       statute of limitations, were charged multiple NSF Fees on a single transaction (the
       “Multiple NSF Class”).

       Subclass – North Carolina Multiple NSF Subclass
       All DFCU checking account holders in North Carolina who, during the
       applicable statute of limitations, were charged multiple NSF Fees on a single
       transaction (the “North Carolina Multiple NSF Subclass”).

Hereinafter, the Class and Subclass are collectively referred to as the “Classes.”

       53.     Ms. Campbell reserves the right to modify or amend the definition of the proposed

Classes before the Court determines whether certification is appropriate.

       54.     Specifically excluded from the Classes are any entities in which DFCU has a

controlling interest, or which have a controlling interest in DFCU, DFCU’s legal representatives,

assigns, and successors, any Judge to whom this action is assigned, and any member of such

Judge’s staff and immediate family.

       55.     The members of the Classes are so numerous that joinder is impractical. The

Classes consist of thousands of members, the identities of whom are within the exclusive

knowledge of DFCU and can be readily ascertained only by resort to DFCU’s records.

       56.     The claims of the representative plaintiff are typical of the claims of the Classes in

that the representative plaintiff, like all members of the Classes, was charged multiple NSF Fees

on a single transaction. The representative plaintiff, like all members of the Classes, has been



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damaged by DFCU’s misconduct in that she has been assessed unfair and unconscionable NSF

Fees. Furthermore, the factual basis of DFCU’s misconduct is common to all members of the

Classes and represents a common thread of unfair and unconscionable conduct resulting in injury

to all members of the Classes. Ms. Campbell has suffered the harm alleged and has no interests

antagonistic to the interests of any other members of the Classes.

       57.     There are numerous questions of law and fact common to the Classes and those

common questions predominate over any questions affecting only individual members of the

Classes.

       58.     Among the questions of law and fact common to the Classes include:

               a.      Whether DFCU violated contract provisions by charging multiple NSF Fees

       on the same transaction;

               b.      Whether DFCU breached its covenant of good faith and fair dealing with

       Ms. Campbell and other members of the Classes through its NSF Fee policies and practices;

               c.      Whether DFCU violated the applicable consumer protection law through its

       NSF Fee policies and practices;

               d.      The proper method or methods by which to measure damages; and

               e.      The declaratory and injunctive relief to which the Classes are entitled.

       59.     Ms. Campbell is committed to the vigorous prosecution of this action and has

retained competent counsel experienced in the prosecution of class actions, particularly on behalf

of consumers and against financial institutions. Accordingly, Ms. Campbell is an adequate

representative and will fairly and adequately protect the interests of the Classes.

       60.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual class member’s claim is




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small relative to the complexity of the litigation, no class member could afford to seek legal redress

individually for the claims alleged herein. Therefore, absent a class action, the members of the

Classes will continue to suffer losses and DFCU’s misconduct will proceed without remedy.

        61.       Even if Class members themselves could afford such individual litigation, the court

system could not. Given the complex legal and factual issues involved, individualized litigation

would significantly increase the delay and expense to all parties and to the Court. Individualized

litigation would also create the potential for inconsistent or contradictory rulings. By contrast, a

class action presents far fewer management difficulties, allows for the consideration of claims

which might otherwise go unheard because of the relative expense of bringing individual lawsuits,

and provides the benefits of adjudication, economies of scale, and comprehensive supervision by

a single court.

        62.       Plaintiff suffers a substantial risk of repeated injury in the future. Plaintiff, like all

members of the Classes, is at risk of additional NSF Fees on repeated reprocessing of transactions.

Plaintiff and the members of the Classes are entitled to injunctive and declaratory relief as a result

of the conduct complained of herein. Money damages alone could not afford adequate and

complete relief, and injunctive relief is necessary to restrain DFCU from continuing to commit its

unfair and illegal actions.

                                               CAUSES OF ACTION

                             FIRST CLAIM FOR RELIEF
      Breach of Contract and Breach of the Covenant of Good Faith and Fair Dealing
                                (On Behalf of the Classes)
       63.   Ms. Campbell realleges and incorporates by reference all the foregoing allegations

as if they were fully set forth herein.

        64.       Ms. Campbell and DFCU have contracted for bank account services, as embodied

in DFCU’s Deposit Agreement and related documentation.



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       65.      DFCU’s Account Documents explicitly state that, when a customer lacks sufficient

funds to cover a transaction, DFCU may either (a) authorize the transaction and charge a single

OD Fee, or (b) reject the transaction and charge a single NSF fee. DFCU regularly violates its

contractual promises by charging multiple NSF Fees on a single transaction.

       66.      Under the laws of the states where DFCU does business, parties to a contract are

required not only to adhere to the express conditions in the contract, but also to act in good faith

when they are invested with a discretionary power over the other party. In such circumstances, the

party with discretion is required to exercise that power and discretion in good faith. This creates

an implied promise to act in accordance with the parties’ reasonable expectations. That means that

DFCU is prohibited from exercising its discretion to enrich itself and gouge its customers. Indeed,

DFCU has a duty to honor transaction requests in a manner that is fair to Ms. Campbell and is

prohibited from exercising its discretion to pile on ever greater penalties.. Here—in the form

agreements DFCU foisted on Ms. Campbell—DFCU has provided itself numerous discretionary

powers affecting Ms. Campbell’s account.

       67.      Instead of exercising that discretion in good faith and consistent with Ms.

Campbell’s reasonable expectations, DFCU abuses that discretion to take money out of Ms.

Campbell’s account without her permission and contrary to her reasonable expectations that she

will not be charged multiple NSF Fees for the same transaction. Specifically, DFCU regularly (a)

reprocesses previously declined transactions, even when DFCU knows a customer’s account lacks

sufficient funds, and (b) charges DFCU Account Fees upon reprocessing of previously declined

transactions.

       68.      DFCU further breaches the covenant of good faith and fair dealing by charging

more than one NSF Fee on a single transaction.




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       69.     By exercising its discretion to enrich itself by gouging its consumers, DFCU

consciously and deliberately frustrates the agreed common purposes of the contract and

disappoints the reasonable expectations of Ms. Campbell and members of the Classes, thereby

depriving them of the benefit of their bargain.

       70.     Ms. Campbell and members of the Classes have performed all, or substantially all,

of the obligations imposed on them under the Deposit Agreement.

       71.     Ms. Campbell and members of the Classes have sustained damages as a result of

DFCU’s breaches of the Deposit Agreement.

                               SECOND CLAIM FOR RELIEF
           Violation of North Carolina Unfair And Deceptive Trade Practices Act
                          (On Behalf of the North Carolina Subclass)
       72.    Plaintiff incorporates by reference each of the allegations set forth in the preceding

paragraphs.

       73.     This claim is asserted on behalf of the members of the North Carolina Subclass

under North Carolina’s Unfair and Deceptive Trade Practices Act.

       74.     DFCU engaged in unfair and deceptive acts and practices relating to the imposition

of NSF Fees, in violation of N.C. Gen. Stat. §§ 75-1.1 et seq.

       75.     DFCU’s acts and practices were in and affected commerce as defined by Chapter

75 of the North Carolina General Statutes.

       76.     DFCU’s acts and practices proximately caused injury to Plaintiff and the North

Carolina Subclass, and they are entitled to, inter alia, damages, injunctive, and declaratory relief.

       77.     Because of the unfair and deceptive acts and practices of DFCU, Plaintiff and the

North Carolina Subclass seek an award of treble damages and attorneys’ fees pursuant to N.C.

Gen. Stat. §§75-16 and 75-16.1.




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                                               PRAYER FOR RELIEF

        WHEREFORE, Ms. Campbell, individually and on behalf of the members of the Classes,

respectfully requests the Court to enter an Order:

        a.      certifying the proposed Classes;

        b.      declaring DFCU’s NSF Fee policies and practices alleged in this Complaint to be

wrongful, unfair and unconscionable;

        c.      enjoining DFCU from charging more than one NSF Fee for any single transaction;

        d.      enjoining DFCU from materially misrepresenting its true fee processing practices;

        e.      granting restitution of all NSF Fees paid to DFCU by Campbell and the Classes, as

a result of the wrongs alleged herein in an amount to be determined at trial;

        f.      granting disgorgement of the ill-gotten gains derived by DFCU from its

misconduct;

        g.      awarding actual damages in an amount according to proof;

        h.      statutory damages;

        i.      awarding pre-judgment interest at the maximum rate permitted by applicable law;

        j.      awarding punitive or exemplary damages in accordance with proof and in an

amount consistent with applicable precedent;

        k.      awarding costs and disbursements assessed by Campbell in connection with this

action, including reasonable attorneys’ fees pursuant to applicable law; and

        l.      awarding such other relief as this Court deems just and proper.

                                             DEMAND FOR JURY TRIAL

        Ms. Campbell and all others similarly situated hereby demand trial by jury on all issues in

this complaint that are so triable as a matter of right.




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Dated: March 1, 2019                              Respectfully submitted,


                                                  _________________________________
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